Case 9:23-cr-80101-AMC Document 552 Entered on FLSD Docket 05/19/2024 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON/Reinhart

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

          Defendants.
                                       /

       ORDER DIRECTING PUBLIC DOCKETING OF OUTSTANDING UNDOCKETED
            PRE-TRIAL MOTIONS AND RESOLVING RELATED MOTIONS

          THIS MATTER comes before the Court following review of the parties’ competing

  redaction proposals related to the remaining undocketed pretrial motions and associated exhibits:

  (1) Defendant Trump’s “Motion to Dismiss for Prosecutorial Misconduct and Due Process

  Violations” (“Motion to Dismiss Based on Prosecutorial Misconduct”); and (2) Defendant

  Trump’s “Motion for Relief Relating to the Mar-a-Lago Raid and Unlawful Piercing of Attorney-

  Client Privilege” (“Motion to Suppress”) [ECF Nos. 543, 545, 547].1 As the Special Counsel

  indicates, the parties largely agree on the proposed redactions, consisting mostly of names of

  potential witnesses, ancillary names, and personal identifying information (PII)—categories of

  information as to which the Court has authorized redactions in prior Orders and continues to do so

  now [ECF Nos. 543, 543-1 (noting limited areas of disagreement)]. Where the parties agree on



  1
     The Special Counsel submitted initial in camera “red box” redactions of the Motions, related
  filings, and associated exhibits [ECF No. 348]. Following the Court’s Sealed Status Conference
  on May 8, 2024, both sides submitted amended “red box” redaction proposals [ECF Nos. 533,
  539].
Case 9:23-cr-80101-AMC Document 552 Entered on FLSD Docket 05/19/2024 Page 2 of 5

                                                       CASE NO. 23-80101-CR-CANNON/Reinhart


  the content to be redacted, even if for different reasons, the Court accepts and authorizes the

  proposed redactions with limited exceptions enumerated below. Where the parties disagree with

  respect to whether certain materials should be redacted on the basis of attorney-client privilege,

  the Court agrees to accept for now Defendant Trump’s characterization of the material as

  privileged pending merits review of the privilege issues raised in the Motion to Suppress, and

  authorizes redactions on those bases [ECF No. 547]. Finally, to the extent the Special Counsel

  asserts a need for continued secrecy over the subject material under Rule 6(e) of the Federal Rules

  of Criminal Procedure, the Court accepts that rationale despite concerns about the Special

  Counsel’s use of Rule 6(e) as a basis for continued secrecy, see infra pp. 4–5, and authorizes the

  requested sealing/redactions subject to potential further review.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. Consistent with the determinations and authorizations set forth above, on or before

             May 21, 2024, the parties shall file the two remaining undocketed motions in sequence

             (motions, oppositions, replies) with the exceptions and clarifications detailed in (a) and

             (b) below, and then file under seal fully unredacted versions of the subject filings for

             record completeness.

                 a. Defendant Trump’s Motion to Dismiss for Prosecutorial Misconduct

                         i. Motion Exhibit 9: The Court does not authorize Defendant Trump’s
                            proposed redactions to witness statements in Exhibit 9 to the Motion
                            (USA-00940262). No basis is provided for these redactions, and the
                            Court has previously denied requests to redact the substance of potential
                            witness statements as relied upon in pre-trial motions [ECF No. 438].
                            Beyond redactions of potential witness names, ancillary names, and PII,
                            Exhibit 9 shall be docketed in unredacted form.

                        ii. The Court authorizes the limited redactions to the portions of sentences
                            set forth in the Special Counsel’s chart on the basis of the stated Rule
                            6(e) rationale [ECF No. 543-1 p. 6].



                                                   2
Case 9:23-cr-80101-AMC Document 552 Entered on FLSD Docket 05/19/2024 Page 3 of 5

                                                     CASE NO. 23-80101-CR-CANNON/Reinhart


               b. Defendant Trump’s Motion to Suppress

                       i. Motion Exhibit 2: The Court does not authorize Defendant Trump’s
                          proposed redactions to witness statements in Paragraph 28
                          (USA-00043161). No basis is provided for these redactions, and the
                          Court has previously denied requests to redact the substance of potential
                          witness statements as relied upon in pre-trial motions [ECF No. 438].
                          The same is true for the phrase located in Paragraph 64 (USA-0043174).
                          The Court accepts the remainder of the parties’ proposed redactions as
                          to Exhibit 2.2 The parties are directed to redact the name of a potential
                          government witness on USA-0043187.

                      ii. Motion Exhibit 18: The Court authorizes the redactions of sentences
                          identified in the Special Counsel’s submission relating to grand jury
                          testimony of “Person 12” [ECF No. 543-1 p. 3 (referencing two
                          sentences on USA-01288853)].

                      iii. Opposition Exhibit 1: The Court does not authorize Defendant Trump’s
                           proposed redactions to witness statements in Paragraph 28
                           (USA-00043161). No basis is provided for these redactions, and the
                           Court has previously denied requests to redact the substance of potential
                           witness statements as relied upon in pre-trial motions [ECF No. 438].
                           The same is true for the phrase located in Paragraph 64 (USA-0043174).
                           The Court accepts the remainder of the parties’ proposed redactions as
                           to Opposition Exhibit 1. The parties are directed to redact the name of
                           a potential government witness on USA-0043187.

                      iv. Opposition Exhibit 5: On the basis of the Special Counsel’s stated
                          Rule 6(e) rationale, the Court directs full sealing of Opposition Exhibit
                          5 (beginning with USA-00805861).

        2. The Special Counsel’s “Motion for Sealing and Redaction of Defense Filings and

            Exhibits” [ECF No. 348] is GRANTED IN PART AND DENIED IN PART in

            accordance with this Order and the Court’s prior Orders [ECF Nos. 438, 440, 474, 492,

            503].

        3. The Special Counsel’s “Second Motion for Certain Redactions and Sealing”

            [ECF No. 384] is GRANTED IN PART AND DENIED IN PART in accordance with



  2
     The Special Counsel seeks to redact the entire sentence of which this phrase is a part
  [ECF No. 549 p. 2]. That request is similarly denied.
                                                 3
Case 9:23-cr-80101-AMC Document 552 Entered on FLSD Docket 05/19/2024 Page 4 of 5

                                                        CASE NO. 23-80101-CR-CANNON/Reinhart


             this Order and the Court’s prior Orders [ECF Nos. 438, 440, 474, 492, 503].

         4. Upon compliance with this Order, all substantive pre-trial motions submitted on

             February 22, 2024, along with the associated oppositions/replies, will have been

             docketed publicly.3

         5. In closing, the Court deems it necessary to express concern over the Special Counsel’s

             treatment of certain sealed materials in this case. In two separate filings related to

             sealing, the Special Counsel stated, without qualification, that he had no objection to

             full unsealing of previously sealed docket entries related to allegations of prosecutorial

             misconduct [ECF Nos. 423, 464]. In light of that repeated representation, and in the

             absence of any defense objection, the Court unsealed those materials consistent with

             the general presumption in favor of public access [ECF No. 472 (unsealing

             ECF Nos. 101, 115–116, 118)].          Subsequently, in the course of adjudicating

             continuing redaction disputes leading to this Order, the Court inquired about those now-

             unsealed filings, which contain material as to which the Special Counsel has voiced

             (and continues to voice) objections to unsealing [ECF No. 267–268, 294, 350, 369, 511

             (opposing public disclosure of potential witness names, ancillary names, and grand jury

             matters); see ECF Nos. 506, 533, 542]. 4        In response to those inquiries, counsel

             explained that the Special Counsel took the position on unsealing in order to publicly

             and transparently refute defense allegations of prosecutorial misconduct raised in



  3
    In addition, subject to further unsealing as becomes necessary, this Order marks the resolution
  of the limited disclosure issues transferred to this Court by the U.S. District Court for the District
  of Columbia [ECF No. 512 (sealed)].
  4
    The Court also notes that the Superseding Indictment contains numerous quotes from grand jury
  testimony, the balance of which the Special Counsel continues to maintain require sealing under
  Rule 6(e) [ECF No. 85].
                                                    4
Case 9:23-cr-80101-AMC Document 552 Entered on FLSD Docket 05/19/2024 Page 5 of 5

                                                       CASE NO. 23-80101-CR-CANNON/Reinhart


             pretrial motions [ECF No. 542 p. 67].5 Fair enough. But nowhere in that explanation

             is there any basis to conclude that the Special Counsel could not have defended the

             integrity of his Office while simultaneously preserving the witness-safety and Rule-

             6(e) concerns he has repeatedly told the Court, and maintains to this day, are of serious

             consequence, and which the Court has endeavored with diligence to accommodate in

             its multiple Orders on sealing/redaction [e.g., ECF Nos. 295, 361, 438, 440, 474]. The

             Court is disappointed in these developments. The sealing and redaction rules should

             be applied consistently and fairly upon a sufficient factual and legal showing. And

             parties should not make requests that undermine any prior representations or positions

             except upon full disclosure to the Court and appropriate briefing.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 19th day of May 2024.



                                               ____________________________________
                                               AILEEN M. CANNON
                                               UNITED STATES DISTRICT JUDGE




  5
    The transcript of the hearing remains sealed because it contains detailed discussions of sealed
  grand jury material [ECF No. 542].
                                                   5
